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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                 CASE NO.: 6:17-bk-07779-CCJ

In Re:

Peppy Family Restaurant Group “LLC”,

         Debtor(s).
                                        /

                                 NOTICE OF APPEARANCE

         TARA C. EARLY hereby files her Notice of Appearance as attorney for PARK

EDGEWATER HOLDINGS, LLC, a creditor herein, and requests that copies of all notices,

pleadings, and other papers filed in this case are furnished to her at the address shown below.

PLEASE ADJUST THE CLAIMS REGISTER ACCORDINGLY.

         I HEREBY CERTIFY that a copy of the foregoing has been served either by electronic

transmission or by United States First Class Mail postage prepaid to the following: L. Todd Budgen,

Esquire, P.O. Box 520546, Longwood, FL 32752-0546 and Emerson C Noble, Trustee, P.O. Box

622798, Oviedo, FL 32762-2798, 10th day of January, 2018.




                                                            /s/ Tara C. Early_______________
                                                           TARA C. EARLY, ESQUIRE
                                                           Florida Bar #0173355
                                                           Stanton & Gasdick, P.A.
                                                           1601 W. Colonial Dr.
                                                           Orlando, FL 32804
                                                           Ph: 407-423-5203/Fax 407-425-4105
                                                           Attorney for McCoy Federal Credit
                                                           Union
